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                                                                                                                7   CITY OF ALBANY, a Charter City

                                                                                                                8                                         UNITED STATES DISTRICT COURT
                                                                                                                9                                    NORTHERN DISTRICT OF CALIFORNIA
                                                                                                               10

                                                                                                               11   THE LIONS CLUB OF ALBANY,                             Case No. 3:22-cv-05377-WHO
                                                                                                                    CALIFORNIA, A Nonprofit Corporation,
                                             3390 UNIVERSITY AVENUE, 5TH FLOOR
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                                                                                                               12                                                         DEFENDANT CITY OF ALBANY’S
                                                                                 RIVERSIDE, CALIFORNIA 92502




                                                                                                                                             Plaintiff,                   OPPOSITION TO PLAINTIFF’S
                          ATTORNEYS AT LAW




                                                                                                               13                                                         MOTION FOR PRELIMINARY
                                                                                                                             v.                                           INJUNCTION
                                                                                                               14
                                                                                                                    THE CITY OF ALBANY, a Charter City; and               [Filed concurrently with
                                                                                                               15   DOES 1 through 25,                                        1. Request for Judicial Notice; and
                                                                                                                                                                              2. Declaration of Scott W. Ditfurth]
                                                                                                               16                            Defendants.
                                                                                                                                                                          Date:             November 2, 2022
                                                                                                               17                                                         Time:             2:00 p.m.
                                                                                                                                                                          Courtroom:        2 , 17th Floor
                                                                                                               18                                                         Judge:            Hon. William H. Orrick
                                                                                                                                                                          Trial Date:       None Set
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                                                                                                                    38159.03002\40750139.1                                         CITY OF ALBANY’S OPPOSITION TO
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                                                                                                                1   I.       INTRODUCTION

                                                                                                                2            The Lions Club of Albany, California (“Plaintiff”) filed the instant lawsuit only after it

                                                                                                                3   suffered a procedural setback in the underlying eminent domain action that the City of Albany (the

                                                                                                                4   “City”) filed. Rather than pursuing the very claims being asserted here in the eminent domain

                                                                                                                5   action through trial, Plaintiff is asking this Court to serve as a de facto court of appeal to review the

                                                                                                                6   Alameda County Superior Court’s order granting the City prejudgment possession of Plaintiff’s

                                                                                                                7   easement interest in Albany Hill Park, which the City owns and whereupon an electrically

                                                                                                                8   illuminated cross stands. The state court’s order further permits the City to remove this cross and

                                                                                                                9   to preserve it in a safe location pending trial and a final judgment in the lawsuit. Dissatisfied with
                                                                                                               10   the state court’s ruling, Plaintiff is now seeking damages and injunctive relief in this lawsuit based

                                                                                                               11   upon the same set of facts and circumstances, not to mention identical legal positions, in the City’s
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                                                                                                               12   underlying eminent domain action.
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                                                                                                               13            To be clear, the state court has yet to definitively decide whether the Constitutional grounds

                                                                                                               14   that Plaintiff is using to challenge the City’s eminent domain lawsuit, which also form the basis for

                                                                                                               15   this federal lawsuit, are valid, thereby defeating the City’s right to condemn Plaintiff’s easement

                                                                                                               16   interest. The state court merely granted the City prejudgment possession, finding that (1) the City

                                                                                                               17   is entitled to acquire the property by eminent domain, (2) the City deposited $500,000 in the State

                                                                                                               18   of California Condemnation Deposits Fund for withdrawal by Plaintiff as probable just

                                                                                                               19   compensation for the easement, (3) the City has an overriding need to possess the easement before
                                                                                                               20   final judgment is entered, and that it would suffer a substantial hardship otherwise, and (4) the

                                                                                                               21   hardship that the City would suffer if possession is denied outweighs Plaintiff’s hardship.

                                                                                                               22            As explained in more detail below, Plaintiff cannot demonstrate the likelihood of success

                                                                                                               23   on the merits in this action for two different reasons. First, federal abstention is warranted under

                                                                                                               24   either the Pullman or the Colorado River doctrines.1 It is appropriate for this Court to abstain from

                                                                                                               25   exercising its jurisdiction over the claims raised in this lawsuit because: (1) pursuant to the Pullman

                                                                                                               26
                                                                                                                    1
                                                                                                               27    The City intends, at a later time, to move the Court for an order staying this lawsuit pursuant to
                                                                                                                    Federal Rules of Civil Procedure, Rule 7(b). The City also intends to move the Court for an order
                                                                                                               28   dismissing this lawsuit for failure to state a claim pursuant to Federal Rules of Civil Procedure,
                                                                                                                    Rule 12(b)(6).
                                                                                                                                                                                                    3:22-CV-05377-WHO
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                                                                                                                                                                                     MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   doctrine, they may be mooted, or at least presented in a different posture, by a state court decision

                                                                                                                2   on sensitive issues of California law; and, alternatively, (2) pursuant to the Colorado River doctrine,

                                                                                                                3   there is a pending state court action arising out of the same controversy, and considerations of

                                                                                                                4   conservation of judicial resources and comprehensive disposition of litigation weigh in favor of

                                                                                                                5   abstention. The timing of this action coupled with the similar claims, arguments, and positions that

                                                                                                                6   Plaintiff is asserting in the state court eminent domain lawsuit suggests not just forum shopping,

                                                                                                                7   but also attempting another bite at the proverbial apple.

                                                                                                                8            Second, as the state court found, unencumbering a public park from Plaintiff’s easement is

                                                                                                                9   a legitimate reason to exercise the power of eminent domain and, in doing so, the City is not
                                                                                                               10   depriving Plaintiff’s right to exercise religion freely.

                                                                                                               11            Additionally, Plaintiff cannot demonstrate that it would suffer irreparable harm, nor is it
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                                                                                                               12   clear whether Plaintiff has standing to assert these claims against the City. Accordingly, the City
                                                                                 RIVERSIDE, CALIFORNIA 92502
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                                                                                                               13   respectfully requests the Court to deny Plaintiff’s Motion for Preliminary Injunction.

                                                                                                               14   II.      FACTUAL AND PROCEDURAL BACKGROUND

                                                                                                               15            A.        The City Owns And Operates Albany Hill Park, Which Plaintiff’s Easement

                                                                                                               16                      Currently Encumbers

                                                                                                               17            Plaintiff is a public service organization that Lions Clubs International chartered.

                                                                                                               18   (Complaint, ¶ 2.) Plaintiff is seeking damages and injunctive relief for the alleged acts the City

                                                                                                               19   committed under color of state law to deprive and interfere with its free speech and free exercise
                                                                                                               20   of religion rights and violation of the Establishment Clause. (Complaint, ¶ 4.) Plaintiff’s claims

                                                                                                               21   are being asserted against the City pursuant to United States Code sections 1983 and 1988. (Id.)

                                                                                                               22            The relationship between Plaintiff, the City, and Albany Hill Park goes back decades, as do

                                                                                                               23   the many lawsuits involving them. In 1971, Plaintiff constructed a steel and Plexiglas cross on the

                                                                                                               24   real property that one of Plaintiff’s former members owned. (Complaint, ¶ 6.) This property

                                                                                                               25   eventually became known as Albany Hill Park, and the cross has been located there ever since.

                                                                                                               26   (Complaint, ¶ 6.) The cross measures approximately 28 feet in height and 8 feet in width, and it

                                                                                                               27   sits atop a six-by-four-foot concrete base. (Complaint, ¶ 6.) The cross is illuminated during the

                                                                                                               28   Christmas and Easter holidays. (Complaint, ¶ 9.) Because of its size and location atop Albany Hill
                                                                                                                                                                                                   3:22-CV-05377-WHO
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                                                                                                                                                                                    MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   Park, many areas in the City and nearby Berkeley communities are able to view the cross on most

                                                                                                                2   days. (Complaint, ¶ 6.)

                                                                                                                3            At 338 feet above sea level, Albany Hill is the City’s most iconic natural feature and an

                                                                                                                4   ecological icon for the community. (Declaration of Scott W. Ditfurth (“Ditfurth Decl.”), ¶ 2,

                                                                                                                5   Exhibit A, Declaration of Jeff Bond (“Bond Decl.”), ¶ 2.)2 Among other things, Albany Hill

                                                                                                                6   appears on the City seal. (Id.) The City has acquired most of the ridgeline and upper slopes, and

                                                                                                                7   it protects those areas as permanent open space. (Id.) In a recent survey of residents, Albany Hill

                                                                                                                8   was the fourth most visited public open space out of 13 facilities. (Id.) Albany Hill Park is also

                                                                                                                9   home to several plant communities.3 (Id.) One of the City’s stated objectives for Albany Hill Park
                                                                                                               10   is to manage vegetation on the hill to reduce fire hazards, restore native habitat, and provide

                                                                                                               11   appropriate levels of public access by maintaining and expanding the system of trails, including
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                                                                                                               12   connections between Creekside Park and the neighborhoods on Albany Hill’s perimeter. (Id.)
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                                                                                                               13            The City is now, and has been for some time, the fee owner of the real property (i.e., Albany

                                                                                                               14   Hill Park) on which the cross is located, more particular described as Assessor Parcel Numbers

                                                                                                               15   066-2754-14-05 and 066-2754-40-03 (“Subject Property”).4 (Complaint, ¶ 19; Ditfurth Decl., ¶ 2,

                                                                                                               16   Exhibit A, Bond Decl., ¶ 2.) The City acquired the Subject Property on or about August 21, 1973,

                                                                                                               17   after it accepted a land donation from the corporation that purchased the Subject Property from

                                                                                                               18   Plaintiff’s former member. (Id.) As part of the conveyance from Plaintiff’s former member to the

                                                                                                               19   corporation, and, eventually, from the corporation to the City, the seller excepted from the sale an
                                                                                                               20
                                                                                                                    2
                                                                                                               21    With these opposition papers, the City is concurrently filing a request to judicially notice Exhibits
                                                                                                                    A through G as referenced and attached to the Declaration of Scott Ditfurth.
                                                                                                               22
                                                                                                                    3
                                                                                                                      Coast live oak woodland occurs on the northern and eastern slopes of the Hill, and along the banks
                                                                                                               23   of the City’s creeks. (Id.) Coast live oaks dominate the canopy in these areas, with other species
                                                                                                                    such as bigleaf maple, arroyo willow, California bay, California buckeye, and coast redwood
                                                                                                               24   present. (Id.) Eucalyptus groves dominate the ridgeline and western slopes. (Id.) Several
                                                                                                                    significant plants on the East Bay California Native Plant Society’s watch list are found on Albany
                                                                                                               25   Hill, including red fescue, big squirrel tail grass, gumplant, golden aster, California Melic grass,
                                                                                                                    purple needlegrass, and marsh bristlegrass. (Id.) The eucalyptus groves on Albany Hill have
                                                                                                               26   sheltered roosting Monarch Butterflies. (Id.)
                                                                                                                    4
                                                                                                               27     The legal definitions, legal descriptions, and depictions of the Subject Property are more fully set
                                                                                                                    forth in the City’s Complaint in Eminent Domain. (Ditfurth Decl., ¶ 3, Exhibit B, Complaint in
                                                                                                               28   Eminent Domain.)

                                                                                                                                                                                                   3:22-CV-05377-WHO
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                                                                                                                                                                                    MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   easement, in Plaintiff’s favor, for ingress/egress over the Subject Property to maintain the cross on

                                                                                                                2   Albany Hill Park. (Complaint, ¶ 16.) This complex transaction involving Plaintiff, its former

                                                                                                                3   member, the corporation, and the City, among others, resulted in a series of lawsuits concerning

                                                                                                                4   the Subject Property. (Complaint, ¶ 19; Ditfurth Decl., ¶ 2, Exhibit C, Lions Club of Albany,

                                                                                                                5   California v. City of Albany, 323 F.Supp.3d 1104 (N.D. Cal. 2018) (“Lions Club I”) (summarizing

                                                                                                                6   history of the litigation.)5

                                                                                                                7            B.        The Court In Plaintiff’s First Federal Lawsuit, Lions Club I, Finds That The

                                                                                                                8                      City Must Remedy Its Establishment Clause Violation For Having A Religious

                                                                                                                9                      Symbol Prominently Displayed Upon A Public Park
                                                                                                               10            On September 11, 2017, Plaintiff filed an action in this court against the City for alleged

                                                                                                               11   violations of the First and Fourteenth Amendments. (Complaint, ¶¶ 26-29, 35; Ditfurth Decl., ¶ 4,
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                                                                                                               12   Exhibit C, Lions Club I, 6:14-22.) In Lions Club I, Plaintiff alleged the City ordered the Pacific
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                                                                                                               13   Gas and Electric Company to shut down power to the cross for 106 days. (Id.) Plaintiff alleged

                                                                                                               14   this decision was part of a continued campaign to harass Plaintiff even though the City had

                                                                                                               15   legitimate safety concerns in carrying out that decision, including the ongoing fire hazard to the

                                                                                                               16   public. (Id.) The City thereafter filed a Cross-Complaint against Plaintiff for Quiet Title,

                                                                                                               17   Trespassing, Nuisance, and Declaratory relief. (Complaint, ¶ 37.)

                                                                                                               18            The parties eventually filed dueling summary judgment motions, which the Honorable

                                                                                                               19   William Alsup, granted in part, and denied in part. (Ditfurth Decl., ¶ 4, Exhibit C.) In so doing,
                                                                                                               20   Judge Alsup stated, in no uncertain terms, that “The City Must Remedy Its First Amendment

                                                                                                               21   Violation.” (Id. at 15:18-16:7.) Judge Alsup also held that “the public park with the cross

                                                                                                               22   violates the Establishment Clause” and that the “land cannot continue as a public park with

                                                                                                               23   the cross on it.” (Id. at 9:24-25, 14:20-22, emphasis added.) Because of this key finding, Judge

                                                                                                               24   Alsup identified three possible choices for the City to overcome this critical issue. First, the City

                                                                                                               25   could sell the portion of the Subject Property to a private owner where the easement and cross are

                                                                                                               26   located.6 (Id. at 15:19-20.) Second, the City could condemn the easement through its eminent

                                                                                                               27
                                                                                                                    5
                                                                                                                     The instant lawsuit is sometimes herein referred to as Lions Club III.
                                                                                                                    6
                                                                                                               28    Plaintiff continues to stress that because of this available option, the City should not exercise its
                                                                                                                    eminent domain power at all. Plaintiff, however, has failed to cite any authority whatsoever that
                                                                                                                                                                                                   3:22-CV-05377-WHO
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                                                                                                                                                                                    MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   domain power. (Id. at 15:20-21.) Third, the City could adopt a zoning ordinance to ban all religious

                                                                                                                2   symbols from its public spaces. (Id. at 15:21-22.) The Ninth Circuit affirmed Judge Alsup’s order.

                                                                                                                3   See, Lions Club of Albany, California v. City of Albany, 788 F. App’x 428 (9th Cir. 2019). After

                                                                                                                4   careful consideration, the City decided to explore condemning Plaintiff’s easement interest in the

                                                                                                                5   Subject Property, just as Judge Alsup had suggested.

                                                                                                                6            C.        Following The Court’s Ruling In Lions Club I, The City Initiated Eminent

                                                                                                                7                      Domain Proceedings Against Plaintiff

                                                                                                                8            By way of its Complaint in Eminent Domain, the City seeks to unencumber the Subject

                                                                                                                9   Property from Plaintiff’s easement. (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 4.) The City’s
                                                                                                               10   proposed acquisition, including removal of the cross, is (1) for the public purposes and necessity

                                                                                                               11   of enabling the public to more fully use and enjoy Albany Hill Park as an open space without the
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                                                                                                               12   encumbrance, and (2) to avoid any potential Establishment Clause issue arising from Plaintiff
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                                                                                                               13   maintaining the cross. (Id.; Lions Club I, 15:18-16:7 (finding that the City must address the cross

                                                                                                               14   in Albany Hill Park due to the First Amendment).) Because of the very purpose for which the City

                                                                                                               15   seeks to exercise its power of eminent domain, there is no other interest in land that the City could

                                                                                                               16   use or acquire to remove the encumbrance on its fee interest and to avoid an Establishment Clause

                                                                                                               17   issue arising from Plaintiff’s religious display at Albany Hill Park. (Ditfurth Decl., ¶ 2, Exhibit A,

                                                                                                               18   Bond Decl., ¶ 4.)

                                                                                                               19            Generally, to exercise its eminent domain power, a public agency must formally appraise
                                                                                                               20   the property or property interests that are sought to be acquired and make an offer to the property

                                                                                                               21   owner for a value that is no less than the appraised amount. If the property owner rejects the public

                                                                                                               22   agency’s offer, or the parties are unable to negotiate a mutually acceptable purchase price, the

                                                                                                               23   public agency must hold and duly notice a Resolution of Necessity hearing, at which point the

                                                                                                               24   affected property owner has the right to be heard on the issues that the public agency’s governing

                                                                                                               25   board is considering, which are as follows: (1) the public interest and necessity require the proposed

                                                                                                               26   project; (2) the proposed project is planned or located in the manner that will be most compatible

                                                                                                               27

                                                                                                               28   would otherwise compel the City to sell the property in dispute instead of condemning it. Indeed,
                                                                                                                    as the fee owner of the Subject Property, the City is free to utilize its property as it sees fit.
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                                                                                                                1   with the greatest public good and the least private injury; (3) the property is necessary for the

                                                                                                                2   proposed project; and (4) the offer to purchase the property was made to the property owner for no

                                                                                                                3   less than the appraised amount. Cal. Civ. Proc. Code § 1245.230. Here, the City followed each of

                                                                                                                4   these steps as California’s Eminent Domain Law requires.

                                                                                                                5                      1.    The Disputed Easement’s Appraisal And The Pre-Condemnation

                                                                                                                6                            Negotiations That Followed

                                                                                                                7            The City appraised the Plaintiff’s easement for $500,000, as determined by its independent

                                                                                                                8   and licensed appraiser. (Complaint, ¶ 44.) The City provided a copy of this appraisal to Plaintiff

                                                                                                                9   in a letter dated November 12, 2021, in which the City offered to purchase Plaintiff’s easement
                                                                                                               10   interest for $500,000. (Complaint, ¶ 44; Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 6, Exhibit

                                                                                                               11   A.) As of the time the City filed its Complain in Eminent Domain, Plaintiff had not indicated
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                                                                                                               12   whether it would accept the City’s offer. (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 6.)
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                                                                                                               13                      2.    After Conducting A Hearing In Which It Considered Public Comment,

                                                                                                               14                            The City Unanimously Adopts The Resolution Of Necessity

                                                                                                               15            The City duly noticed a public hearing for April 4, 2022, to consider whether a Resolution

                                                                                                               16   of Necessity should be adopted, and it subsequently conducted the hearing as scheduled on that

                                                                                                               17   date.7 (Complaint, ¶¶ 45-51; Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶¶ 7-11, Exhibits B-C.)

                                                                                                               18   Plaintiff provided advance notice that it intended to appear at the hearing, and it voiced its objection

                                                                                                               19   to the proposed Resolution of Necessity. (Id.) At the hearing, the City Council heard from, among
                                                                                                               20   others, Plaintiff and its representatives as well as a number of individuals who disagreed with them.

                                                                                                               21   (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 8.) Indeed, numerous members of the public voiced

                                                                                                               22   their distaste of Plaintiff maintaining a cross on the Subject Property and forcing the City to pay

                                                                                                               23   taxpayer money to have it removed. Ultimately, having considered all comments and information

                                                                                                               24   presented, the City Council unanimously adopted Resolution Number 2022-32, a Resolution of

                                                                                                               25   Necessity declaring the necessity of acquiring Plaintiff’s easement across Albany Hill Park, and

                                                                                                               26   removing the cross itself, for the public purposes of unencumbering Albany Hill Park and the

                                                                                                               27
                                                                                                                    7
                                                                                                                     City Council meeting agendas (in HTML and PDF format) along with video recordings of
                                                                                                               28   meetings are also available online at: https://www.albanyca.org/our-city/kalb-community-
                                                                                                                    media/city-council-video-and-agendas.
                                                                                                                                                                                                   3:22-CV-05377-WHO
                                                                                                                    38159.03002\40750139.1                           -6-             CITY OF ALBANY’S OPPOSITION TO
                                                                                                                                                                                    MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   potential Establishment Clause issue that this Court previously identified in Lions Club I. (Ditfurth

                                                                                                                2   Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 8, Exhibit B, Resolution No. 2022-32.)

                                                                                                                3                      3.    The Court Grants The City’s Motion For An Order For Prejudgment

                                                                                                                4                            Possession And It Considers All The Same Arguments, Positions, And

                                                                                                                5                            Claims Being Asserted In This Federal Lawsuit

                                                                                                                6            On May 4, 2022, the City filed its Complaint in Eminent Domain in the Alameda County

                                                                                                                7   Superior Court, styled as City of Albany v. Albany Lions Club, Lions International, et al., and

                                                                                                                8   bearing case number 22CV010822 (“Lions Club II” or “State Court Action”). (Complaint, ¶ 58;

                                                                                                                9   Ditfurth Decl., ¶ 3, Exhibit B, Complaint in Eminent Domain.) The City filed a Motion for
                                                                                                               10   Prejudgment Possession of Plaintiff’s easement two days later, and it deposited $500,000 in the

                                                                                                               11   State of California Condemnation Deposits Fund for withdrawal by Plaintiff as probable just
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                                                                                                               12   compensation for the easement.8 (Complaint, ¶ 59; Ditfurth Decl., ¶ 5, Exhibit D, Motion for
                                                                                 RIVERSIDE, CALIFORNIA 92502
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                                                                                                               13   Prejudgment Possession and Reply Brief; Ditfurth Decl., ¶ 6, Exhibit E, Notice of Deposit of

                                                                                                               14   Probable Just Compensation.) Plaintiff opposed the Motion for Prejudgment Possession, raising

                                                                                                               15   similar, if not the identical, arguments, positions, and claims being asserted in this current federal

                                                                                                               16   lawsuit, i.e., Lions Club III. (Complaint, ¶ 61; Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition

                                                                                                               17   to Motion for Prejudgment Possession.) On August 30, 2022, the Court in Lions Club II granted

                                                                                                               18   the City’s Motion for Prejudgment Possession, and in the event the City decided to remove the

                                                                                                               19   cross, it ordered the City to preserve the cross in a safe location pending trial and final judgment in
                                                                                                               20   the State Court Action. (Ditfurth Decl., ¶ 8, Exhibit G, Prejudgment Possession Order.) In doing

                                                                                                               21   so, the court in Lions Club II considered the issues below that Plaintiff raised, and is raising again

                                                                                                               22   here, namely:

                                                                                                               23
                                                                                                                    8
                                                                                                               24     The immediate possession procedure is sometimes referred to as a “quick-take” eminent domain
                                                                                                                    action. Mt. San Jacinto Community College District v. Superior Court, 40 Cal. 4th 648, 653
                                                                                                               25   (2007). “Because compensation is immediately available to the property owner in a quick-take
                                                                                                                    action, the date of valuation of the property is statutorily required to be no later than the date the
                                                                                                               26   condemner deposits ‘probable compensation’ for the owner.” Id.; Cal. Civ. Proc. Code §
                                                                                                                    1263.110 et seq.) The deposited money earns statutory interest until it is withdrawn, which the
                                                                                                               27   property owner may do immediately. Id. Doing so, however, waives the property owner’s right
                                                                                                                    to dispute the taking, i.e., to assert a right-to-take challenge, other than the right to challenge the
                                                                                                               28   amount of just compensation. Id.; Cal. Civ. Proc. Code § 1255.260.

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                                                                                                                    38159.03002\40750139.1                           -7-             CITY OF ALBANY’S OPPOSITION TO
                                                                                                                                                                                    MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1                     The City “has no project to build.” (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s

                                                                                                                2                      Opposition, 1:27-28)

                                                                                                                3                     The City’s “so-called ‘project’ is a possible Establishment Clause violation and its

                                                                                                                4                      alleged need to get fee simple title to a few lots which are subject to [Plaintiff’s]

                                                                                                                5                      easement to maintain the cross.”        (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s

                                                                                                                6                      Opposition, 1:28-2:2)

                                                                                                                7                     Plaintiff “will suffer substantial hardship if the Order for Possession is granted. If

                                                                                                                8                      the Order is granted the City will remove the cross. [Plaintiff] will be unable to light

                                                                                                                9                      the cross at Christmas and will be unable to hold its Easter service.” (Ditfurth Decl.,
                                                                                                               10                      ¶ 7, Exhibit F, Plaintiff’s Opposition, 2:14-16.)

                                                                                                               11                     If the requested order is granted, Plaintiff “will be required to obtain a permit from
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                                                                                                               12                      the City to restore the cross. Assuming the permit is granted, [Plaintiff] will need
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                                                                                                               13                      to hire a contractor to construct and install a new cross. All this will cost time and

                                                                                                               14                      money.” (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition, 2:16-20.)

                                                                                                               15                     The City’s underlying Resolution of Necessity is not entitled to a conclusive

                                                                                                               16                      presumption of validity. (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition, 4:1-

                                                                                                               17                      12.)

                                                                                                               18                     “The City has failed to establish an overriding need for prejudgment possession and

                                                                                                               19                      failed to establish [it] will suffer a substantial hardship if possession is denied.”
                                                                                                               20                      (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition, 4:13-6:4.)

                                                                                                               21                     Plaintiff “will suffer significant and permanent hardship if the cross is removed.”

                                                                                                               22                      (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition, 6:3-13.)

                                                                                                               23                     The City failed to establish facts necessitating the exercise of eminent domain, and

                                                                                                               24                      neither the public interest, the necessity, nor the easement sought to be acquired are

                                                                                                               25                      necessary for any project. (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s Opposition,

                                                                                                               26                      6:14-22.)

                                                                                                               27                     The City’s decision to adopt the challenged Resolution of Necessity was a gross

                                                                                                               28                      abuse of discretion, and there is no public need to condemn Plaintiff’s easement
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                                                                                                                    38159.03002\40750139.1                              -8-              CITY OF ALBANY’S OPPOSITION TO
                                                                                                                                                                                        MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1                      interest in the Subject Property.     (Ditfurth Decl., ¶ 7, Exhibit F, Plaintiff’s

                                                                                                                2                      Opposition, 7:2-10:7.)

                                                                                                                3                     The City is depriving Plaintiff of, and interfering with, its free speech and free

                                                                                                                4                      exercise of religion rights under the First Amendment and violating the

                                                                                                                5                      Establishment Clause.

                                                                                                                6   The court in the State Court Action further found that the City satisfied each of the four statutory

                                                                                                                7   elements for obtaining an order for prejudgment possession,9 and City is entitled to a conclusive

                                                                                                                8   presumption that the requirements for exercising its eminent domain power have been established

                                                                                                                9   under California Code of Civil Procedure section 1240.030. (Ditfurth Decl., ¶ 8, Exhibit G,
                                                                                                               10   Prejudgment Possession Order.)          Critically, the court determined that ordering prejudgment

                                                                                                               11   possession does not preclude Plaintiff from asserting any right-to-take challenge at trial. (Id. at 7
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                                                                                                               12   (explaining that “[t]he City is correct that [Plaintiff] conflates the prerequisites for an order of
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                                                                                                               13   prejudgment possession under [Code of Civil Procedure section] 1255.410 with the merits of an

                                                                                                               14   eminent domain right to take trial under Code of Civil Procedure [section] 1260.120.”). In reaching

                                                                                                               15   its decision, the court cited the Legislative Committee Comment following Code of Civil Procedure

                                                                                                               16   section 1255.410, which provides as follows:

                                                                                                               17                      It should be noted that the determination of the plaintiff’s right to
                                                                                                                                       take the property by eminent domain is preliminary only. The
                                                                                                               18                      granting of an order for possession does not prejudice the defendant’s
                                                                                                                                       right to demur to the complaint or to contest the taking. Conversely,
                                                                                                               19                      the denial of an order for possession does not require a dismissal of
                                                                                                                                       the proceeding and does not prejudice the plaintiff’s right to fully
                                                                                                               20                      litigate the issue if raised by the defendant.
                                                                                                               21            Indeed, Plaintiff has alleged a right-to-challenge in the State Court Action, alleging all of

                                                                                                               22   the same arguments raised here. As described in more detail below, grounds for federal abstention

                                                                                                               23   exist because the very same claims Plaintiff is asserting in this lawsuit are currently pending in the

                                                                                                               24   State Court Action and have yet to be decided. Because there is yet to be a final decision on the

                                                                                                               25
                                                                                                                    9
                                                                                                                      To obtain an order for prejudgment possession, the moving party must show: (1) the plaintiff
                                                                                                               26   entitled to take the property by eminent domain; (2) the plaintiff deposited an amount no less than
                                                                                                                    the appraised value; (3) there is an overriding need for the plaintiff to possess the sought-after
                                                                                                               27   property before final judgment is issued in the case, and the plaintiff will suffer a substantial
                                                                                                                    hardship if the possession application is denied or limited; and (4) the hardship that the plaintiff
                                                                                                               28   will suffer if possession is denied or limited outweighs the defendant’s hardship that would
                                                                                                                    otherwise be caused by granting prejudgment possession. Cal. Civ. Proc. Code § 1255.410(d)(2).
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                                                                                                                    38159.03002\40750139.1                             -9-             CITY OF ALBANY’S OPPOSITION TO
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                                                                                                                1   merits with respect to Plaintiff’s right-to-take challenge, Plaintiff is unlikely to demonstrate a

                                                                                                                2   likelihood of success on the merits for purposes of the instant motion. Plaintiff’s current action is

                                                                                                                3   nothing more than an attempt to have this Court overrule a decision already made in the State Court

                                                                                                                4   Action. Plaintiff did not seek a writ on the ruling in the State Court Action, but instead filed this

                                                                                                                5   lawsuit. Plaintiff should not be permitted to forum shop its claims to overrule previous decisions

                                                                                                                6   made in the State Court Action.

                                                                                                                7   III.     LEGAL ARGUMENT

                                                                                                                8            A.        Legal Standard For A Motion For Preliminary Injunction

                                                                                                                9            A preliminary injunction is “an extraordinary remedy that may only be awarded upon a
                                                                                                               10   clear showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, Inc.,

                                                                                                               11   555 U.S. 7, 22 (2008). To obtain the requested preliminary injunction, Plaintiff must demonstrate
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                                                                                                               12   that: (1) it is likely to succeed on the merits; (2) it is likely to suffer irreparable harm absent an
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                                                                                                               13   injunction; (3) the balance of equities tips in its favor; and (4) an injunction is in the public interest.

                                                                                                               14   Id. at 20; Beaty v. Brewer, 649 F.3d 1071, 1072 (9th Cir. 2011). As the moving party, Plaintiff has

                                                                                                               15   the burden of proof on all four elements. Baca v. Moreno Valley Unified Sch. Dist., 936 F.Supp.

                                                                                                               16   719, 726 (C.D. Cal. 1996). Unless the moving party is able to carry the burden of persuasion, by a

                                                                                                               17   clear showing, the request for a preliminary injunction should be denied. Mazurek v. Armstrong,

                                                                                                               18   520 U.S. 968, 972 (1997). Plaintiff has the burden of proving the propriety of such an extraordinary

                                                                                                               19   and drastic remedy by clear and convincing evidence. In Defense of Animals v. U.S. Dept. of
                                                                                                               20   Interior, 737 F.Supp.2d 1125, 1131 (E.D. Cal. 2010).

                                                                                                               21            Where an injunction is sought against the government’s actions, a higher showing is

                                                                                                               22   required on the claimed harm’s imminence. City of Los Angeles v. Lyons, 461 U.S. 95, 102 (1983);

                                                                                                               23   see also Kim v. City of Belmont, 2018 WL 500269, at *14 (N.D. Cal. 2018) (“The Court has held

                                                                                                               24   that recognition of the need for a proper balance between state and federal authority counsels

                                                                                                               25   restraint in the issuance of injunctions against state officers ... in the absence of irreparable injury

                                                                                                               26   which is both great and immediate.”). The Separation of Powers Doctrine also counsels against

                                                                                                               27   issuing injunctions intended to control a public entity. Lewis v. Casey, 518 U.S. 343, 349–50

                                                                                                               28   (1996). As set forth in the sections that follow, Plaintiff cannot demonstrate the perquisites for a
                                                                                                                                                                                                     3:22-CV-05377-WHO
                                                                                                                    38159.03002\40750139.1                            - 10 -           CITY OF ALBANY’S OPPOSITION TO
                                                                                                                                                                                      MTN FOR PRELIMINARY INJUNCTION
                                                                                                                1   preliminary injunction.

                                                                                                                2            B.        Plaintiff Is Unlikely to Succeed On The Merits

                                                                                                                3                      1.    Dismissal And/Or Abstention Is Warranted Under The Circumstances
                                                                                                                4            Pullman abstention is warranted here. Railroad Commission of Texas v. Pullman Co., 312

                                                                                                                5   U.S. 496 (1941) (“Pullman”). Eminent domain and, similarly, land use regulation are sensitive

                                                                                                                6   areas of public policy that are best left to the states to address. San Remo Hotel v. City & County

                                                                                                                7   of San Francisco, 145 F.3d 1095 (9th Cir. 1998). In the alternative, the City would seek abstention

                                                                                                                8   under Colorado River Water Conservation Dist. v. United States, 424 U.S. 800 (1976) (“Colorado

                                                                                                                9   River”). Colorado River abstention should be exercised where there is a pending state action arising
                                                                                                               10   out of the same controversy, based upon “considerations of wise judicial administration, giving

                                                                                                               11   regard to conservation of judicial resources and comprehensive disposition of litigation.” (Id.)
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                                                                                                               12                            a.     The Court Should Abstain In Accordance With The Pullman
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                                                                                                               13                                   Doctrine

                                                                                                               14            “Pullman abstention is the oldest of the abstention doctrines and perhaps the easiest to

                                                                                                               15   understand.” U.S. v. Morros, 268 F.3d 695, 703 (9th Cir. 2001). It is “an equitable doctrine that

                                                                                                               16   allows federal courts to refrain from deciding sensitive federal constitutional questions when state

                                                                                                               17   law issues may moot or narrow the constitutional questions.” Fireman’s Fund Ins. Co. v. City of

                                                                                                               18   Lodi, 302 F.3d 928, 938, n.11 (9th Cir. 2002). “[F]ederal courts should abstain from decisions

                                                                                                               19   when difficult and unsettled questions of state law must be resolved before a substantial federal
                                                                                                               20   constitutional question can be decided. By abstaining in such cases, federal courts … avoid both

                                                                                                               21   unnecessary adjudication of federal questions and ‘needless friction with state policies.’” Columbia

                                                                                                               22   Basin Apartment Ass’n v. City of Pasco, 268 F.3d 791, 801-02 (9th Cir. 2001) (“Columbia Basin”).

                                                                                                               23            The Supreme Court has clarified that Pullman “abstention is appropriate where an

                                                                                                               24   unconstrued … statute is susceptible of a construction by the state judiciary which might avoid in

                                                                                                               25   whole or in part the necessity for federal constitutional adjudication, or at least materially change

                                                                                                               26   the nature of the problem.” Bellotti v. Baird, 428 U.S. 132, 146-47 (1976) (internal citations

                                                                                                               27   omitted). A district court may abstain from exercising its jurisdiction under Pullman when three

                                                                                                               28   factors exist: “(1) the complaint must involve a ‘sensitive area of social policy’ that is best left to
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                                                                                                                1   the states to address; (2) ‘a definitive ruling on the state issues by a state court could obviate the

                                                                                                                2   need for federal constitutional adjudication by the federal court’; and (3) ‘the proper resolution of

                                                                                                                3   the potentially determinative state law issue is uncertain.’” Cedar Shake and Shingle Bureau v.

                                                                                                                4   City of Los Angeles, 997 F.2d 620, 622 (9th Cir. 1993) (“Cedar Shake”) (invoking Pullman

                                                                                                                5   abstention and reversing district court’s contrary conclusion where case challenged authority of

                                                                                                                6   city to regulate building by banning wood shake roofs). All three factors are satisfied here.

                                                                                                                7            Regarding the first factor, the Ninth Circuit has “consistently held that land use planning is

                                                                                                                8   a sensitive area of social policy that meets the first requirement for Pullman abstention.” San Remo

                                                                                                                9   Hotel, 145 F.3d at 1105 (remanding with instructions to abstain under Pullman at p. 1106); see
                                                                                                               10   also, e.g., Columbia Basin, 268 F.3d at 802 (“[w]e often have held that land-use planning questions

                                                                                                               11   ‘touch a sensitive area of social policy’ into which the federal courts should not lightly intrude”);
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                                                                                                               12   C-Y Development Co. v. City of Redlands, 703 F.2d 375, 377 (9th Cir. 1983) (“C-Y Development”)
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                                                                                                               13   (land use planning is a sensitive area of social policy).

                                                                                                               14            Here, the City’s Resolution of Necessity is consistent with all applicable rules and

                                                                                                               15   regulations under state and federal law for exercising its eminent domain power to condemn

                                                                                                               16   Plaintiff’s easement interest. Under both the California and United States Constitution, the

                                                                                                               17   government may take private property for public use so long as just compensation is paid. Plaintiff

                                                                                                               18   contends, both in the State Court Action and in this federal lawsuit, that the City decision to

                                                                                                               19   condemn its easement interest is inappropriate because:
                                                                                                               20                     The City has no project to build;

                                                                                                               21                     It failed to identify a public project;

                                                                                                               22                     The City has alternative means of avoiding the potential Establishment Clause issue

                                                                                                               23                      found in Lions Club I (namely, selling that portion of the Subject Property to

                                                                                                               24                      Plaintiff);

                                                                                                               25                     Plaintiff will suffer a substantial hardship if the cross is removed;

                                                                                                               26                     If the cross is removed and Plaintiff successfully asserts a right-to-take challenge, it

                                                                                                               27                      will not be able to restore the cross at Albany Hill Park;

                                                                                                               28                     The City’s Resolution of Necessity is invalid;
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                                                                                                                1                     The City failed to establish an overriding need for prejudgment possession;

                                                                                                                2                     The City failed to establish that it will suffer a substantial hardship if possession is

                                                                                                                3                      denied;

                                                                                                                4                     Plaintiff will suffer significant and permanent hardship if the cross is removed; and

                                                                                                                5                     The City is depriving Plaintiff of and interfering with its free speech and free

                                                                                                                6                      exercise of religion rights under the First Amendment and violating the

                                                                                                                7                      Establishment Clause.

                                                                                                                8            Plaintiff focuses solely on the City’s desire to avoid an Establish Clause problem, as Judge

                                                                                                                9   Alsup noted in Lions Club I. However, Plaintiff has completely and consistently ignored the fact
                                                                                                               10   that one of the stated reasons to conduct eminent domain was so the City could provide an

                                                                                                               11   unencumbered park to its residents. (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 8, Exhibit B,
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                                                                                                               12   Resolution No. 2022-32.) The City’s decision to plan for development of its own land (as a
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                                                                                                               13   reminder, the City is the Subject Property’s fee owner) is similar to general plans individual cities

                                                                                                               14   have adopted, challenges to which have been held to be subject to Pullman abstention. E.g.,

                                                                                                               15   Sederquist v. City of Tiburon, 590 F.2d 278, 282 (9th Cir. 1978) (takings challenge to city’s

                                                                                                               16   adoption of a general plan that included plaintiffs’ access road in the plan’s open space element);

                                                                                                               17   Rancho Palos Verdes Corp. v. City of Laguna Beach, 547 F.2d 1092, 1093, 1095 (9th Cir. 1976)

                                                                                                               18   (takings challenge to city’s adoption of general plan that designated plaintiff’s property for

                                                                                                               19   preservation of open space).
                                                                                                               20            As for the second factor, the State Court Action may render Plaintiff’s federal constitutional

                                                                                                               21   claim moot or, at the very least, present it in a different posture. Pullman abstention does not

                                                                                                               22   require that a ruling on the state issue by a state court could moot the federal constitutional issue.

                                                                                                               23   It is enough that a ruling on the state issue by a state court could result in the federal constitutional

                                                                                                               24   issue being “presented in a different posture.” Columbia Basin, 268 F.3d at 801; C-Y Development,

                                                                                                               25   703 F.2d at 380 (“Although abstention in this case may not obviate the need to decide all the federal

                                                                                                               26   constitutional questions, it will substantially reduce the contours of such adjudication and place it

                                                                                                               27   in a different posture.”); Richardson v. Koshiba, 693 F.2d 911, 916 (9th Cir. 1982) (recognizing

                                                                                                               28   that the “threshold inquiry” in a section 1983 procedural due process claim is whether the plaintiff
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                                                                                                                1   has been deprived of a property interest created by state law); see also Sinclair Oil Corp. v. County

                                                                                                                2   of Santa Barbara, 96 F.3d 401, 409 (9th Cir. 1996) (“Sinclair Oil”) (“For Pullman purposes,

                                                                                                                3   though, it is sufficient if the state law issues might ‘narrow’ the federal constitutional questions.”).

                                                                                                                4            Here, if Plaintiff were to prevail on its right-to-take challenge, it would no longer be

                                                                                                                5   compelled to remove the cross from Albany Hill Park. Without being forced to remove the cross

                                                                                                                6   under the City’s power of eminent domain, the complained of constitutional harms in this federal

                                                                                                                7   lawsuit would be moot. Moreover, if Plaintiff were to lose on its right-to-take challenge, that could

                                                                                                                8   present Plaintiff’s current claims in a different posture, as Plaintiff would somehow need to show

                                                                                                                9   it can overcome a valid Resolution of Necessity to acquire the Subject Property. Thus, the second
                                                                                                               10   criterion for Pullman abstention is met.

                                                                                                               11            The third Pullman factor likewise favors abstention. Uncertainty exists when a federal court
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                                                                                                               12   cannot predict with confidence how a state court would decide an issue of state law. Pearl Invest.
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                                                                                                               13   Co. v. City & County of San Francisco, 774 F.2d 1460, 1465 (9th Cir. 1985). The Ninth Circuit

                                                                                                               14   requires “only a minimal showing of uncertainty to satisfy the third Pullman factor in land use

                                                                                                               15   cases.” VH Property Corp. v. City of Rancho Palos Verdes, 622 F.Supp.2d 958, 964 (C.D. Cal.

                                                                                                               16   2009) (finding uncertainty as to how a California court would apply “peculiar facts” to determine

                                                                                                               17   whether a city abused its discretion in requiring a developer to demonstrate that a property met

                                                                                                               18   specified safety criteria); see, e.g., Sinclair Oil, 96 F.3d at 410 (finding uncertainty despite

                                                                                                               19   plaintiff’s “conventional inverse condemnation claim” that did not implicate “a novel claim of
                                                                                                               20   statutory construction” because the community plan at issue had not yet been challenged in a state

                                                                                                               21   court); Columbia Basin, 268 F.3d at 806 (finding uncertainty where no Washington court had

                                                                                                               22   evaluated the constitutionality of a land use ordinance under the unique provisions of the state

                                                                                                               23   Constitution).

                                                                                                               24            Uncertainty exists here because the City does not know how the court in the State Court

                                                                                                               25   Action is going to resolve the constitutional underpinnings of Plaintiff’s right-to-take challenge.

                                                                                                               26   Thus, the third Pullman factor is satisfied because a prediction cannot be made with confidence

                                                                                                               27   that a state court would interpret the City’s Resolution of Necessity in the way Plaintiff seeks.

                                                                                                               28
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                                                                                                                1                            b.      Alternatively, The Colorado River Factors Weigh In Favor Of

                                                                                                                2                                    Abstention

                                                                                                                3            In determining whether the court should abstain, the court considers eight factors: “(1)

                                                                                                                4   which court first assumed jurisdiction over any property at stake; (2) the inconvenience of the

                                                                                                                5   federal forum; (3) the desire to avoid piecemeal litigation; (4) the order in which the forums

                                                                                                                6   obtained jurisdiction; (5) whether federal law or state law provides the rule of decision on the

                                                                                                                7   merits; (6) whether the state court proceedings can adequately protect the rights of the federal

                                                                                                                8   litigants; (7) the desire to avoid forum shopping; and (8) whether the state court proceedings will

                                                                                                                9   resolve all issues before the federal court.” Montanore Minerals Corp. v. Bakie, 867 F.3d 1160,
                                                                                                               10   1166 (9th Cir. 2017) (“Montanore”) (reversing trial court order refusing to abstain, and directing

                                                                                                               11   trial court to abstain under Colorado River).
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                                                                                                               12                                    (1)     “which court first assumed jurisdiction over any property at
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                                                                                                               13                                            stake”

                                                                                                               14            The State Court Action was filed first pursuant to the City’s Complaint in Eminent Domain,

                                                                                                               15   and Plaintiff’s subsequent right-to-take challenge, which weighs in favor of a stay. Because the

                                                                                                               16   underlying property interests are already being litigated in the State Court Action and Plaintiff is

                                                                                                               17   making the same arguments there as it is here, there is a risk of inconsistent rulings. That is, the

                                                                                                               18   State Court Action could result in the City condemning Plaintiff’s easement interest while this

                                                                                                               19   Court may determine that such action violates Plaintiff’s First Amendment rights.
                                                                                                               20                                    (2)     “inconvenience of the federal forum”
                                                                                                               21            While both the federal and state courthouses are in the San Francisco Bay Area, the matter

                                                                                                               22   pending in the State Court Action is closer to the City, Albany Hill Park, and potential witnesses.

                                                                                                               23                                    (3)     “the desire to avoid piecemeal litigation”
                                                                                                               24            Plaintiff’s decision to file a second action in federal court has resulted in piecemeal litigation

                                                                                                               25   of its singular goal: to defeat the City’s effort to condemn Plaintiff’s easement on the Subject

                                                                                                               26   Property. It does not promote “conservation of judicial resources and comprehensive disposition

                                                                                                               27   of litigation to have a federal court adjudicate rights that [are] implicated in a vastly more

                                                                                                               28
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                                                                                                                1   comprehensive state action.” Montanore, 867 F.3d at 1167 (internal quotation marks and citations

                                                                                                                2   omitted).

                                                                                                                3                                   (4)     “the order in which the forums obtained jurisdiction”
                                                                                                                4            The City’s State Court Action was filed first, and Plaintiff did not decide to avail itself to

                                                                                                                5   the federal court until after it received an adverse ruling granting the City prejudgment possession

                                                                                                                6   of Plaintiff’s easement. Rendering the decision to grant the City’s prejudgment possession motion

                                                                                                                7   demonstrates that the State Court Action has already made substantial progress. See R.R. Street &

                                                                                                                8   Co. v. Transport Ins. Co., 656 F.3d 966, 980 (9th Cir. 2011) (the state court made “significant

                                                                                                                9   progress” in the lawsuit, having already “conducted discovery, initiated a phased approach to the
                                                                                                               10   litigation and issued an order concerning foundational legal matters”).

                                                                                                               11                                   (5)     “whether federal law or state law provides the rule of
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                                                                                                               12                                           decision on the merits”
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                                                                                                               13            “The fact that state law provides the rule of decision on the merits in a case may favor a

                                                                                                               14   stay, but only when the state law questions are themselves complex and difficult issues better

                                                                                                               15   resolved by a state court.” Montanore, 867 F.3d at 1168 (internal quotation marks omitted). At

                                                                                                               16   their core, Plaintiff’s contentions against the City’s proposed course of action is that its Resolution

                                                                                                               17   of Necessity is invalid for reasons provided under state law.

                                                                                                               18                                   (6)     “whether the state court proceedings can adequately protect

                                                                                                               19                                           the rights of the federal litigants”
                                                                                                               20            There is no doubt that California state courts have authority to adjudicate eminent domain

                                                                                                               21   and similar constitutional matters, and thus the State Court Action can adequately protect the rights

                                                                                                               22   of the federal litigants. See Montanore, 867 F.3d at 1169 (state court proceeding adequate even

                                                                                                               23   though state court refused to consider an alleged “Federal Land Policy Management Act defect”

                                                                                                               24   when considering the validity of unpatented mining claims); York v. City of Los Angeles, 33

                                                                                                               25   Cal.App.5th 1178, 1193 (2019) (state court adjudicating causes of action for inverse condemnation

                                                                                                               26   and violation of civil rights, both of which were premised on an alleged regulatory taking).

                                                                                                               27                                   (7)     “the desire to avoid forum shopping”
                                                                                                               28            “Colorado River helps combat forum-shopping by providing a mechanism for avoiding
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                                                                                                                1   duplicative litigation.” Attwood v. Mendocino Coast Dist. Hosp., 886 F.2d 241, 245 (9th Cir. 1989).

                                                                                                                2   Plaintiff filed the instant federal action only after it received an adverse ruling in the State Court

                                                                                                                3   Action. Indeed, without even a final appealable order in the State Court Action, Plaintiff is seeking

                                                                                                                4   another bite of the appeal. Rather than allowing proceeding to a right-to-take trial, Plaintiff decided

                                                                                                                5   to file this lawsuit as a quasi-appeal of the State Court Action’s order granting the City’s motion

                                                                                                                6   for prejudgment possession.

                                                                                                                7                                   (8)     “whether the state court proceedings will resolve all issues

                                                                                                                8                                           before the federal court”

                                                                                                                9            Regarding the last factor, whether the state court proceedings will resolve the federal action,
                                                                                                               10   “[w]e do not require ‘exact parallelism’ under this factor; it is sufficient if the proceedings are

                                                                                                               11   ‘substantially similar.’”     Montanore, 867 F.3d at 1170 (internal quotation marks omitted).
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                                                                                                               12   “Moreover, we are particularly reluctant to find that the actions are not parallel when the federal
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                                                                                                               13   action is but a ‘spin-off’ of more comprehensive state litigation.” Id. (internal quotation marks

                                                                                                               14   omitted). The federal and state court actions allege the same nucleus of facts: the City is violating

                                                                                                               15   Plaintiff’s constitutional rights by exercising the power of eminent domain to condemn an easement

                                                                                                               16   that has a religious symbol. Both complaints “attempt to accomplish the same goal” [Montanore,

                                                                                                               17   867 F.3d at 1170], i.e., a judicial determination that the City’s condemnation action violates the

                                                                                                               18   United States Constitution.

                                                                                                               19                      2.    The City Has A Legitimate Reason To Condemn The Subject Property,
                                                                                                               20                            And Is Neither Temporarily Nor Permanently Depriving Plaintiff’s

                                                                                                               21                            First Amendment Right To Exercise Religion Freely

                                                                                                               22            A resolution of necessity may be considered sufficient evidence of a public entity’s urgent

                                                                                                               23   need to obtain possession. Israni v. Superior Court, 88 Cal.App.4th 621, 640 (2001). Only in rare

                                                                                                               24   instances will courts disturb a legislative or administrative declaration, such as a resolution of

                                                                                                               25   necessity, that the particular use is public or necessary. See, People ex rel. Dep't Pub. Works v.

                                                                                                               26   Superior Court, 68 Cal.2d 206 (1968).

                                                                                                               27            The City owns the property that is the subject matter of this eminent domain action. Plaintiff

                                                                                                               28   has a limited easement over the property for ingress and egress to maintain a cross situated on the
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                                                                                                                1   property. The City proposes a project required by public interest and necessity because the City

                                                                                                                2   seeks to acquire the easement in order to unencumber public land and avoid any potential violation

                                                                                                                3   of the Establishment Clause arising from Defendant’s display of a cross in the park. (Ditfurth Decl.,

                                                                                                                4   ¶ 2, Exhibit A, Bond Decl., ¶¶ 2–4; see Cal. Civ. Proc. Code § 1240.680(a)(1) (“property is

                                                                                                                5   presumed to have been appropriated for the best and most necessary public use if the property is

                                                                                                                6   appropriated to public use as…a city park….”); see also Lions Club of Albany, California v. City

                                                                                                                7   of Albany, 323 F.Supp.3d 1104, 1117 (N.D. Cal. 2018). Here, the property is already being utilized

                                                                                                                8   as public space. Accordingly, the City’s intended use is presumed to be the best and most necessary

                                                                                                                9   use. Additionally, the City’s legitimate and secular purpose in avoiding future Establishment
                                                                                                               10   Clause litigation justifies the removal of the cross. See Vasquez v. Los Angeles County, 487 F.3d

                                                                                                               11   1246, 1257 (9th Cir. 2007).
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                                                                                                               12                      3.    The City Is Not Depriving Plaintiff’s Constitutional Rights
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                                                                                                               13            Despite Plaintiff’s platitudes to the contrary, the City’s actions do not prevent Plaintiff, its

                                                                                                               14   members, or the public from continuing to gather at Albany Hill Park to host and celebrate Easter

                                                                                                               15   morning services, to pray, to worship, and to participate in other religious activities. (Motion, 9:1-

                                                                                                               16   5). Plaintiff is free to use Albany Hill Park for any lawful purpose. Put another way, the City is not

                                                                                                               17   preventing anyone from practicing religion, nor is it restricting anyone’s ability to express free

                                                                                                               18   speech at Albany Hill Park or elsewhere. The City is simply condemning out an easement and

                                                                                                               19   removing a cross on public property that it owns.
                                                                                                               20            C.        Plaintiff Has Not And Cannot Demonstrate Irreparable Harm

                                                                                                               21            Plaintiff bears a heavy burden to show that “irreparable injury is likely in the absence of an

                                                                                                               22   injunction.” Winters, 555 U.S. at 21–22. To establish a likelihood of irreparable harm, conclusory

                                                                                                               23   or speculative allegations are not enough.         Herb Reed Enters., LLC v. Fla. Entertainment

                                                                                                               24   Management, 736 F.3d 1239, 1250 (9th Cir. 2013). To satisfy the irreparable harm prong, a

                                                                                                               25   plaintiff must prove that the irreparable harm was caused by the complaint of conduct, and that the

                                                                                                               26   injunction will remedy that harm. Sierra Club v. U.S. Department of Energy, 825 F. Supp. 2d 142,

                                                                                                               27   153 (D.D.C. 2011) (“A plaintiff may be irreparably harmed by all sorts of things, but the irreparable

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                                                                                                                1   harm considered by the court must be caused by the conduct in dispute and remedied by the relief

                                                                                                                2   sought.”).

                                                                                                                3            Here, Plaintiff goes to great lengths to try and show that irreparable harm will be had

                                                                                                                4   regarding the removal of the cross. Plaintiff argues a parade of horribles regarding what may occur

                                                                                                                5   if the cross is removed. However, the State Court Action has already ruled that “if the City of

                                                                                                                6   Albany removes the Cross from the City Property, Albany shall preserve the cross in a safe location

                                                                                                                7   pending trial and final judgment in the action.” (Ditfurth Decl., ¶ 8, Exhibit G, Prejudgment

                                                                                                                8   Possession Order.) Accordingly, the City has already been ordered to preserve the cross in a safe

                                                                                                                9   location. There is no irreparable harm to the Plaintiff.
                                                                                                               10            Moreover, as set forth herein, Plaintiff is neither an owner nor occupant of the Subject

                                                                                                               11   Property, but rather a mere easement holder. An easement is a nonpossessory interest in real
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                                                                                                               12   property, thus the easement owner does not have the right to actual possession. Marvin M. Brandt
                                                                                 RIVERSIDE, CALIFORNIA 92502
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                                                                                                               13   Revocable Tr. v. U.S., 572 U.S. 93 (2014). Any “hardship” Plaintiff suggests is mere conjecture.

                                                                                                               14   Indeed, potential loss to a party not in possession of the property in question does not amount to a

                                                                                                               15   substantial hardship. See Israni, 88 Cal.App.4th at 640-643 (2001). Because Plaintiff does not

                                                                                                               16   actually own or possess the Subject Property, the “hardships” set forth by Plaintiff do not provide

                                                                                                               17   a basis to grant a preliminary injunction.

                                                                                                               18            On the other side, if the cross is not removed, as Judge Alsup previously stated it should be

                                                                                                               19   and, as the State Court already ruled could be, the City will suffer hardship, as there will be an
                                                                                                               20   unnecessary and ongoing risk of litigation due to the possibility that the cross raises concerns under

                                                                                                               21   the Establishment Clause. (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 11, Exhibit C (Lions Club,

                                                                                                               22   supra, 323 F.Supp.3d at 1115–17.) Additionally, the City is presently managing the property as a

                                                                                                               23   public park. The City has an ongoing and overriding need to continue managing the open space,

                                                                                                               24   with all of its plant and animal life, for the public, without interference of the maintenance of the

                                                                                                               25   cross. (Ditfurth Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 11.) The City has an overriding need for

                                                                                                               26   possession of the property to be able to appropriately manage this open space. (Id.)

                                                                                                               27            D.        It Is Unclear Whether Plaintiff Has Standing To Assert Its Claims

                                                                                                               28            Plaintiff’s standing to bring suit in federal court against the City for these claims must be
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                                                                                                                1   resolved before the merits of any claims may be considered. See Association for Accessible

                                                                                                                2   Medicines v. Bonta, 562 F. Supp. 3d 973, 981 (E.D. Cal. 2021). To establish standing under Article

                                                                                                                3   III of the United States Constitution, Plaintiff must have “(1) suffered an injury in fact, (2) that is

                                                                                                                4   fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by

                                                                                                                5   a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). “The plaintiff, as

                                                                                                                6   the party invoking federal jurisdiction, bears the burden of establishing these elements.” Id.

                                                                                                                7   Because the matter is at the pleading stage, Plaintiff must clearly allege facts demonstrating each

                                                                                                                8   of the aforementioned elements. Id. The United States Supreme Court has recognized that “an

                                                                                                                9   association has standing to bring suit on behalf of its members when: (a) its members would
                                                                                                               10   otherwise have standing to sue in their own right; (b) the interests it seeks to protect are germane

                                                                                                               11   to the organization’s purpose; and (c) neither the claim asserted nor the relief requested requires
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                                                                                                               12   the participation of individual members in the lawsuit.”          Hunt v. Washington State Apple
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                                                                                                               13   Advertising Commission, 432 U.S. 333, 343 (1977).

                                                                                                               14            Due to Plaintiff’s failure to state a claim for relief against the City in the underlying

                                                                                                               15   pleading, a ground upon which the City intends to move for dismissal under Federal Rules of Civil

                                                                                                               16   Procedure, Rule 12(b)(6), it is unclear whether Plaintiff has standing to obtain the requested

                                                                                                               17   preliminary injunction, let alone to maintain this lawsuit. The City basis its standing argument

                                                                                                               18   against Plaintiff on two separate but related grounds. First, Plaintiff has not brought a class action

                                                                                                               19   lawsuit, and as a result, Plaintiff may only assert claims on its own behalf.
                                                                                                               20            The City owns fee title to the property, not Plaintiff. Plaintiff simply has a non-exclusive

                                                                                                               21   easement interest for ingress and egress to maintain the cross on the Subject Property. (Ditfurth

                                                                                                               22   Decl., ¶ 2, Exhibit A, Bond Decl., ¶ 2, Exhibit A). Plaintiff has no legal right to possess the land,

                                                                                                               23   nor is it the Subject Property’s record owner. See Marvin M. Brandt Revocable Tr., 572 U.S. 93.

                                                                                                               24   Moreover, Plaintiff has no possessory interest in the land or the cross that would otherwise confer

                                                                                                               25   upon it proper standing. See Dutcher v. Sanders, 20 Cal.App.549 (1912).

                                                                                                               26            Second, Plaintiff cannot demonstrate that its members would have standing to sue in their

                                                                                                               27   own right. Plaintiff has attempted to color some form of associational standing in its pleading by

                                                                                                               28   alleging that its unidentified, non-party members’ constitutional rights to freedom of religious
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                                                                                                                1   expression and speech are being impinged upon. (Complaint, ¶¶ 71, 74, 75, 76, 80, 82, 83, 86, 88,

                                                                                                                2   89.) The same is true for Plaintiff’s allegations pertaining to the alleged violation of the Equal

                                                                                                                3   Protection clause of the United States Constitution. (Complaint, ¶¶ 102-104, 106, 107.) To

                                                                                                                4   illustrate, Plaintiff alleges:

                                                                                                                5                      “public habits and traditions are easily changed such that once traditions and events

                                                                                                                6                       are terminated and locations are moved, members of the public forget, disregard,

                                                                                                                7                       abandon and fail to return to such traditions and events if and when they can be

                                                                                                                8                       reinstated[;]” (Complaint, ¶ 71).

                                                                                                                9                      “[u]nless enjoined by this Court the Lions will be deprived of their rights to freely
                                                                                                               10                       exercise the Christian religion…” (Complaint, ¶ 74).

                                                                                                               11                      “[u]nless enjoined by this Court the Lions will be deprived of their rights to
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                                                                                                               12                       symbolically communicate the religious solace, comfort, and well-being which the
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                                                                                                               13                       display of the Christian Cross conveys to residents of the community…”

                                                                                                               14                       (Complaint, ¶ 76).

                                                                                                               15   None of these allegations, however, have been advanced by any evidence suggesting that any

                                                                                                               16   individual member has a claim against the City under any theory, and Plaintiff cannot show its

                                                                                                               17   members’ special interest to be served or particular right to be preserved. Even though Plaintiff

                                                                                                               18   proffers a declaration from its immediate past President, Kenneth Berner, he does not allege any

                                                                                                               19   constitutional harm to himself attributable to the City’s challenged conduct.               (Motion for
                                                                                                               20   Preliminary Injunction (“Motion”), Declaration of Kenneth Berner (“Berner Decl.”).) Rather, Mr.

                                                                                                               21   Berner states, for example, Plaintiff’s ability to exercise its rights to free exercise of religion will

                                                                                                               22   be effected by the condemnation action. (Motion, Berner Decl., ¶¶ 14-15). As for the declaration

                                                                                                               23   of Plaintiff’s current president, Kevin Pope, he too does not allege any constitutional harm to

                                                                                                               24   himself attributable to the City’s challenged conduct. (Motion, Declaration of Kevin Pope (“Pope

                                                                                                               25   Decl.”).) Instead, Mr. Pope proffers testimony concerning physical damage to the cross, which is

                                                                                                               26   a matter that can be, and is being, asserted in the State Court Action as part of a claim for just

                                                                                                               27   compensation. (Motion, Pope Decl., ¶¶ 13-14.)

                                                                                                               28            Moreover, Plaintiff is required to show that its membership was impacted by the City’s
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                                                                                                                1   acquisition of the easement and cross. However, Plaintiff’s claims in this action directly contradict

                                                                                                                2   its own bylaws. Plaintiff’s own Constitution and Bylaw state that its purpose is: “To Provide a

                                                                                                                3   forum for the open discussion of all matters of public interest; provided, however, that partisan

                                                                                                                4   politics and sectarian religion shall not be debated by club members.”10 (Italics added). As

                                                                                                                5   Plaintiff’s members cannot advocate or even debate for particular religious belief, Plaintiff should

                                                                                                                6   not have standing to state that its particular religious beliefs have been impacted.

                                                                                                                7   IV.      CONCLUSION

                                                                                                                8            Based upon the foregoing, the City respectfully requests that the Court deny Plaintiff’s

                                                                                                                9   Motion for a Preliminary Injunction.
                                                                                                               10

                                                                                                               11   Dated: October 7, 2022                              BEST BEST & KRIEGER LLP
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                                                                                                               13                                                       By: /S/ Scott W. Ditfurth
                                                                                                                                                                           SCOTT W. DITFURTH
                                                                                                               14                                                          ANDREW G. SAGHIAN
                                                                                                                                                                            Attorneys for Defendant
                                                                                                               15                                                           CITY OF ALBANY, a Charter City
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                                                                                                                    10
                                                                                                               27      This language can be found on the Lions Club International Constitution and Bylaws at:
                                                                                                                    https://clubrunner.blob.core.windows.net/00000101144/en-us/files/homepage/lions-club-
                                                                                                               28   international-constitution-by-
                                                                                                                    laws/Lions%20Club%20International%20Constitution%20&%20By-Laws.pdf
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